Case 1:24-cv-07975-AT Document 88 Filed 02/07/25 Pagelof2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JANE DOE,
Plaintiff,
-against-

SEAN COMBS, DADDY’S HOUSE RECORDINGS
INC., CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a
COMBS ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC., BAD BOY
PRODUCTIONS HOLDINGS, INC., BAD BOY BOOKS
HOLDINGS, INC., BAD BOY RECORDS LLC, BAD
BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, ORGANIZATIONAL DOES 1-10,
INDIVIDUAL DOES 1- 10, AND SHAWN CARTER,

Defendants.

Case No.: 1:24-cv-07975-AT

NOTICE OF VOLUNTARY
DISMISSAL PURSUANT TO
RULE 41(a)(1)(A)(@) OF THE
FEDERAL RULES OF CIVIL
PROCEDURE

Pursuant to Rule 41(a)(1)(A)() of the Federal Rules of Civil Procedure, the Plaintiff Jane

Doe, by and through her undersigned counsel, hereby gives notice that the above-captioned Action

is voluntarily dismissed, with prejudice, against Defendant Bad Boy Records LLC (“BBRLLC”).

The same is acknowledged and agreed by BBRLLC, by and through its undersigned counsel.

Dated: New York, New York
February 7, 2025

CURIS LAW, PLLE
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By:

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— AND —

THE BUZBEE LAW FIRM
Anthony G. Buzbee
Texas Bar No. 24001820
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— AND —
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